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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT COURT OF PENNSYLVANIA

KOBE PINKNEY,
Plaintiff
CIVIL ACTION
Vv.
MEADVILLE, PENNSYLVANIA,
&
POLICE CHIEF MICHAEL J. TAUTIN,
&
PATROLMAN JARED FRUM,
&
ALLEGHENY COLLEGE,
&
SERGEANT WILLIAM MERCHBAKER,
&
FIRST ASSISTANT DISTRICT ATTORNEY PAULA DIGIACOMO
&
MEADVILLE TRIBUNE,
&
COMMUNITY NEWSPAPER HOLDING, INC.,
&
KEITH GUSHARD,
Defendants,

AMENDED COMPLAINT

PRELIMINARY STATEMENT
1. This is a civil rights complaint brought under 42 U.S.C. Section 1983 seeking
compensatory and punitive damages for false arrest, false imprisonment, malicious
prosecution, and the violation of the constitutional guarantee of equal protection
against Defendants, Patrolman Jared Frum and Sergeant William Merchbaker, who
while acting under color of state law, detained, arrested, charged and imprisoned
the Plaintiff, Kobe Pinkney, for allegedly committing a heinous criminal assault at a

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Meadville, Pennsylvania bar, without any credible evidence supporting reasonable
suspicion and/or probable cause that he committed the assault, on account of racial
animus and bias.

This Complaint also raises supplemental state claims, including the intentional
infliction of emotional distress and invasion of privacy through defamatory publicity
placing Plaintiff in a false light, by Defendants First Assistant District Attorney Paula
Digiacomo, Keith Gushard, Meadville Tribune, and Community Newspaper Holding
Inc. Ina May 15, 2019 Meadville Tribune article written by Mr. Gushard, ADA Paula
DiGiacomo stated that Plaintiff was still a suspect for committing the assault, after
the criminal case against him had been withdrawn, due to the overwhelming
evidence available to the Commonwealth making it abundantly clear that Plaintiff
was innocent and the assault had been committed by another man identified by
eyewitnesses. The Meadville Tribune is owned by Community Newspaper Holding,
Inc. These claims also extend to Defendants Merchbaker and Allegheny College,
where Sergeant Merchbaker, while acting as the Interior Director of Public Safety for
Allegheny College detained Plaintiff, a student at Allegheny College, while he was
attending a Philosophy class.

The actions and conduct of Patrolman Frum and Sergeant Merchbaker, are the
result of a policy, practice, custom and deliberate indifference on the part of the
Defendants Meadville, Pennsylvania, Allegheny College, and Meadville Chief of
Police, Michael J. Tautin, as well as the policies promulgated by Merchbaker, as the
Interim Director of Public Safety for Allegheny College.

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JURISDICTION
2. This Court has jurisdiction over the subject matter of the Complaint under 42
U.S.C. Section 1983 and 28 U.S.C. Section 1331, 1343(a)(3), 1343(a)(4) and
1367(a).

PARTIES

3. The Plaintiff, Kobe Pinkney, is and was at all times relevant to this Complaint,
a full time student at Allegheny College in Meadville, Pennsylvania
4. The Defendant, Meadville, Pennsylvania is a municipality in the
Commonwealth of Pennsylvania and owns, operates, manages, directs and
controls the Meadville, Pennsylvania Police Department.
5. The Defendant, Police Chief Michael J. Tautin, is and was at all times relevant
to the Complaint a resident of Crawford County, Pennsylvania and was acting in
the capacity as the Chief of Police of the Meadville, Pennsylvania Police
Department under color of state law. He is sued in his individual and official
capacity, as the Chief of Police of the Meadville, Pennsylvania Police Department.
6. The Defendant, Patrolman Jared Frum, is and was at all times relevant to this
Complaint a resident of Crawford County, Pennsylvania and was acting in his
capacity as a Patrolman in the Meadville, Pennsylvania Police Department under
color of state law. He is sued in his individual and official capacity.
7. The Defendant Allegheny College, is a private, co-educational liberal arts
college receiving state and federal funding, located in Meadville, Pennsylvania,
which owns, operates, manages, directs and controls the Allegheny College

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Department of Public Safety.

8. The Defendant, Sergeant William Merchbaker, is and was at all times
relevant to this Complaint a resident of Crawford County, Pennsylvania and a
Sergeant in the Allegheny College Department of Public Safety, acting under color
of state law. He is sued in his individual and official capacity.

9. The Defendant, First Assistant District Attorney Paula DiGiacomo, is an
Assistant District Attorney with the Crawford County District Attorney’s Office.
She is sued in her individual and official capacity.

10. The Defendant, Meadville Tribune, is a seven daily morning newspaper
published in Meadville, Pennsylvania.

11. The Defendant, Community Newspaper Holding Inc., is an American publisher
of newspapers, which owns Defendant Meadville Tribune, and has a headquarters
in Montgomery, Alabama.

12. The Defendant Keith Gushard is a journalist working for Defendant Meadville
Tribune. He is sued in his individual capacity.

13. Defendants Meadville, Pennsylvania and Allegheny College, are under a duty
and responsibility to run their policing activities in a lawful manner so as to
preserve for their citizens the rights, privileges and immunities guaranteed and
secured to them by the Constitution and laws of the United States, and the
Commonwealth of Pennsylvania.

14. Meadville, Pennsylvania and Allegheny College, respectively delegated to the
Defendants, Chief of Police Chief Michael J. Tatutin and Interim Director of Public
Safety, Sergeant William Merchbaker, the responsibility for establishing the

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implementation of policies, the practices, procedures, or customs used by law
enforcement officers employed by the Meadville, Pennsylvania Police Department
and Allegheny College Department of Public Safety, including Defendants,
Patrolman Jared Frum and Sergeant Merchbaker, regarding the determination of
probable cause for arrest, the issuance of criminal complaints and the initiation of
criminal prosecutions.
15. Each and all of the acts of the individual Defendants involved in this
incident performed under the color and pretense of the Constitution, statutes
ordinances, regulations, customs and uses of the United States of America,
Commonwealth of Pennsylvania, and Meadville, Pennsylvania, were under the
color of law and by virtue of their authority as law enforcement officers and
prosecutors and the course and scope of their employment with the Meadville,
Pennsylvania Police Department, Allegheny College Department of Public Safety
and District Attorney of Crawford County, Pennsylvania.

FACTUAL ALLEGATIONS
16. Plaintiff re-alleges and incorporates by reference the allegations contained in
paragraphs one through fifteen.
17. On April 7, 2019, at approximately 1:30 am, Patrolman Jared Frum of the
Meadville Police was on routine patrol in the area of Meadville Academy Theatre,
when he observed four males walking in middle of the street, just west of Julian’s
Bar.
18. Two of the men were carrying a third male, later identified as Rhett Happel,
whose left side of his face was swollen to the point that his left eye was swollen

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shut.

19. Patrolman Frum instructed the men to walk to the south side sidewalk, then
radioed for an ambulance.

20. None of the men saw what happened to Happel, however while they waited
for the ambulance, one of the males volunteered that he believed that Happel had
been assaulted and speculated that the attack stemmed from Happel being
accused of drugging a female that had been found unconscious in the bathroom of
Julian’s Bar by police the previous night.

21. The following evening, April 8, 2019, Patrolman Frum spoke with Happel’s
mother who reported that he had to undergo emergency surgery during which
three plates and fifteen pins were placed in the left side of his face.

22. On April 10, 2019, three days after Happel was injured, Patrolman Frum
interviewed a witness at the Allegheny College Public Safety Building, with the
assistance of Defendant, William Merchbaker, the Interim Director of Public Safety
for Allegheny College.

23. The witness told Patrolman Frum and Sergeant Merchbaker that the assailant
was an African-American male approximately six feet tall, wearing braids, who
walked up to Happel when he was in the bathroom at Julian’s Bar tapped Happel’s
shoulder from behind then punched Happel on the left side of his face as Happel
turned around.

24. The witness further reported that after striking Happel, the assailant walked
to the tavern side of Julian’s Bar, then eventually left the establishment without

being seen.

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25. After the assault, the witness was contacted by Happel’s friend, Evan Haines,
who sent the witness a facebook photo of Jared Shaw, a white male that had been
observed at Julian’s Bar with the assailant on the evening of the assault, and an
African-American male, later identified as the Plaintiff, Kobe Pinkney.

26. The witness recognized Plaintiff as the man that he saw punch Rhett Happel.
27. Haines showed the witness two additional photographs of Shaw and Pinkney
together, both times the witness identified Plaintiff as the assailant.

28. Both Shaw and Pinkney are football players for Allegheny College.

29. Based on further investigation, Happel is regaining his memory, and recalls
that, moments prior to the assault, Jared Shaw and his girlfriend, who has a first
name of “Chloe,” confronted him inside the bar, accusing him of drugging Chloe
the night before, causing her to fall unconscious.

30. Shaw and Chloe followed Happel to the men’s bathroom, where Happel was
punched after being touched on the shoulder from behind.

31. Apparently, these facts were known by the Meadville Police Department,
because Happel was deemed a person of interest, for possibly conspiring with the
assailant out of retaliation for Happel drugging Chloe.

32. Consequently, the police offered Happel immunity from prosecution, in
exchange for Happel identifying the assailant.

33. Despite the offer of immunity, Happel refused to cooperate and hired a local
Crawford County attorney, Joseph Ferguson, Esquire.

34. Without Happel’s cooperation, based on the albeit egregiously suggestive
post incident identification by the witness, a warrant was issued for the arrest of

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Plaintiff.

35. The next day, April 11, 2019, Sergeant Merchbaker removed Plaintiff from a
Philosophy lecture, after which Plaintiff was arrested by the Defendant Frum.

36. Plaintiff was arraigned by Crawford County Magisterial District Court Judge,
the Honorable Samuel V. Pendolino, on the charges of Aggravated Assault, 18
Pa.C.S.A. Section 2702(a)(1), (F1), Simple Assault, 18 Pa.C.S.A. Section 2701(a)(1),
and Harassment, 18 Pa.C.S.A. Section 2709(a)(1), (S). (Kobe Pinkney Criminal
Complaint and Affidavit of Probable Cause, attached hereto and marked Exhibit
“A”).

37. Judge Pendolino set bail at $5,000.00, ten percent.

38. Plaintiff's preliminary hearing was set for April 25, 2019, but eventually
continued to May 22, 2019, at 10:00 am.

39. Plaintiff's arrest and the alleged circumstances surrounding the assault of
Rhett Happel were reported by Meadville Tribune reporter, Defendant, Keith
Gushard.

40. After Plaintiffs arrest numerous eyewitnesses came forward and claimed that
Plaintiff did not assault Rhett Happel and had not even been at Julian’s bar on the
night of the assault.

41. Among the witnesses, were Joe Hayes and Bryan Hill, who informed Plaintiff's
counsel that they were at Julian’s Bar on the night of the assault of Rhett Happel,
did not see Plaintiff at the Bar anytime that evening, but did see the aftermath of
the assault and recognized the likely assailant to be Josiah Williams of Syracuse,
New York, an African-American male with braids, who was a former football

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player at local St. Francis University, before transferring to the University of Buffalo.
42. Plaintiff's counsel immediately relayed the information provided by Hayes and
Hill, as well as their contact information to Meadville, Pennsylvania Assistant Chief
of Police Michael Stefanucci.
43. Plaintiffs counsel also provided Assistant Chief Stefanucci with contact
information for Josh Miller, Plaintiffs roommate who would have told Chief
Stefannuci that Plaintiff was at a Theta Chi fraternity party for the better part of
the evening of April 6", and that Plaintiff returned to the dorm at approximately
1:15 am, where shortly thereafter Plaintiff received a phone call from Jared Shaw
detailing Josiah William’s assault against Rhett Happel.
44. Plaintiffs counsel also provided the identity of Josiah Williams, as well as Mr.
Williams’ Syracuse address to Assistant Chief Stefanucci.
45. Unlike Josiah Williams, Plaintiff does not have braids in his hair.
46. Plaintiff's mother, Monique Johnson, was also able to provide Assistant Chief
Stefanucci with Plaintiff's receipt from McDonald’s which had a stamped date and
time of 4/07/2019, 1:00 am, which was coincident with the date and time of the
assault against Happel. (Printed Copy of McDonald’s Receipt, attached hereto and
marked Exhibit “A”).
47. Further, the police were provided with time cards, showing that Plaintiff
checked back into his dorm on April 7 at at 1:17 am. (Plaintiff Kobe Pinkney’s
Allegheny College Access Log, attached hereto and marked Exhibit “B”).
48. On April 15, 2019, Plaintiff's counsel sent an email outlining evidence of
Plaintiffs innocence to Defendant, Keith Gushard, who reported the assault of

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Rhett Happel and Plaintiffs arrest in the Meadville Tribune, but Defendant
Gushard did not respond and did not report the information relayed by Plaintiff's
counsel. (April 15 Press Release of Plaintiff's Criminal Defense Attorney.attached
hereto and marked Exhibit “D”).
49.  Gushard’s article depicting Plaintiff as the assailant, also shockingly,
included publishing Plaintiffs home address in Maryland, a malicious and
intentional intrusion upon Plaintiff's fundamental right to seclusion of private
concerns. (April 15 Meadville Tribune Article of Keith Gushard, attached hereto
and marked Exhibit “E”)
50. Additionally, as Plaintiff's preliminary hearing date of May 22, 2019
approached Plaintiffs counsel accumulated an additional statement from Jacob
Reidenbach, who provided the Defense with an Affidavit attesting that sometime
in the early morning hours of April 7, 2019, he was outside of Julian’s Bar when he
saw Josiah Williams approach Rhett Happel and the men carrying Happel out of
Julian’s Bar and tell the group that he was the person that beat up Happel and,
then threatened to fight the entire group. (Affidavit of Jacob Reidenbach
attached hereto and marked Exhibit “F”).
51. The Defense was also provided with affidavits from Rosslin Watson and
Brianna Kenney, attesting that on the evening of April 6, 2019 they went toa party
at the Theta Chi fraternity house, at approximately 11:00 am and remained there
with Plaintiff until they all went to McDonald’s at 1:00 am, after which they all
returned to their dorm at Allegheny College. (Affidavit of Rosslin Watson,
attached hereto and marked Exhibit “G”).

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52. Before the Defense could provide this information over to the Meadville
Police Department, on May 15, 2019, apparently based on further investigation,
the Commonwealth withdrew the charges against Plaintiff.

53. The witness who had identified Plaintiff as the assailant after viewing the
facebook photos of Plaintiff with Jared Shaw, recanted his identification of Plaintiff
and admitted that Plaintiff was not the man he saw attack Rhett Happel.

54. As part of the investigation which exonerated Plaintiff, a ring that had been
confiscated from Plaintiff and believed to be a foreign object utilized in the assault
against Happel yielded negative results from forensic testing analysis.

55. Additionally, Plaintiff was not observed in a videotape obtained from the
Julian’s Bar, which apparently shows both Rhett Happel and Josiah Williams, but
did not include Plaintiff.

56. Nevertheless, after the case was closed, despite the overwhelming evidence
of Plaintiff's innocence, including the eyewitness recanting his claim that Plaintiff
was the assailant, the Defendant, First Assistant District Attorney Paula DiGiacomo,
stated in a Meadville Tribune article, written by Defendant, Kevin Gushard, that
even though the case had been closed, Plaintiff remained a suspect. (May 16,
2019 Meadville Tribune Article written by Defendant Keith Gushard, attached
hereto and marked Exhibit “H”).

57. There was clearly no legal cause to justify the prosecution of Plaintiff for
Aggravated Assault, Simple Assault, and Harassment.

58. To the extent that there was legal cause to support the stop, detention
and/or arrest of Plaintiff, the Defendants, Patrolman Frum and Sergeant

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Merchbaker, failed to take reasonable steps to investigate and pursue
information that would have indisputably negated any such legal cause, where
Plaintiff's
defense team actually ascertained the identity of the person who assaulted Rhett
Happel.

59. Clearly, where the purported eyewitness was permitted to make a post
incident identification of Plaintiff through an egregiously suggestive identification
procedure, wherein the victim having given a vague description of the assailant as
an African-American male with braids who was seen with Jared Shaw, the witness
was only shown photos of Jared Shaw accompanied by Plaintiff, who is
African-American but does not have braids, Jared Shaw a white American, who
was suspected of conspiring with the assailant, was offered immunity but has not
been prosecuted for criminal conspiracy to commit aggravated assault, despite
not cooperating, clearly race was the only motivating factor in the decision of
Defendant Jared Frum and the Meadville Police Department to arrest Plaintiff, in
violation of Plaintiffs right to Equal Protection under the Fourteenth Amendment.
60. Atall times relevant to this Complaint, the conduct of Defendants Frum and
Merchbaker was in willful, reckless and callous disregard of Plaintiff's rights under
federal and state law.

61. The deliberate indifference displayed by Patrolman Frum in violating
Plaintiff's constitutional rights to not be arrested without probable cause, and to
be free of racial discrimination, stemmed from the failure of Defendant, Meadville,
Pennsylvania Police Chief Michael J. Tautin as the principle policymaker and

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implementer of practices, procedures and customs used by Meadville,
Pennsylvania Police, to provide adequate supervision and training of Meadville,
Pennsylvania Police Officers so that they would make arrests solely upon the
establishment of a sufficient basis of probable cause, and be free of the taint of
race based decision making.

62. The deliberate indifference displayed by Sergeant Merchbaker in detaining
Plaintiff without reasonable suspicion, while Plaintiff was attending a college
lecture, solely because of race, stemmed from Sergeant Merchbaker’s failure as
the principle policymaker and implementer of practices, procedures and customs
used by Allegheny College Department of Public Safety, to provide adequate
supervision and training of Allegheny College Police Officers so that they would
detain criminal suspects, solely upon the establishment of reasonable suspicion
that they had engaged in criminal activity, and be free of the taint of race based
decision making.

63. Asa direct and proximate result of the conduct of all defendants, Plaintiff
suffered substantial damages, including psychological harm, some or all of which
may be permanent.

64. The statement by Defendant, First Assistant District Attorney, Paula
DiGiacomo, that Plaintiff continues to be a suspect in the investigation of the
brutal assault of Rhett Happel, which was published in a Meadville Tribune article,
written by Defendant Keith Gushard, where Happel was in fact assaulted by Josiah
Williams and Plaintiff was not even present during the incident, is an egregious
invasion of privacy which placed Plaintiff in false light before the public and

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eviscerated Plaintiffs fundamental right to have a reputation of good standing in
the community, and violated his fundamental right to seclusion of private
concerns.

CAUSES OF ACTION

Count |
(Civil Rights Action (42 U.S.C. Section 1983) Unlawful Stop and Detention against
Defendant Sergeant Merchbaker
65. Plaintiff re-alleges and incorporates by reference the allegations contained in
paragraphs 1-64.
66. 42 U.S.C. Section 1983 provides in part:
Every person who, under color of any statute, ordinance,
regulation, custom, or usage of any State or Territory subjects,
or causes to be subjected, any person of the United States or
other person within the jurisdiction thereof to the deprivation
of any rights, privileges, or immunities, secured by the
Constitution and laws shall be liable to the party injured in an
action at law, suit at equity or other proper proceeding for
redress.
67. Plaintiff had a firmly established right under the Fourth Amendment to be
free from unreasonable seizure.
68. A detention without reasonable suspicion that a citizen has committed a
crime violates the Fourth Amendment prohibition on unreasonable searches and
seizure.
69. A police officer may stop and briefly detain a citizen based on reasonable
suspicion of involvement in a crime.

70. Plaintiff had committed no criminal offense or a traffic offense when Sergeant

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Merchbaker detained Plaintiff and removed him from his Philosophy lecture.

71. Although a witness had identified Plaintiff from facebook photos as the man
who savagely assaulted Rhett Happel, the identification was based upon a highly
suggestive identification procedure in which Plaintiff was the only suspect shown
to the witness, in a series of photographs, and each photograph of Plaintiff
depicted him with Jared Shaw, who the victim alleged observed at the scene with
the assailant.

72. Unlike the man described as the assailant by the victim, Defendant did not
have braids in his hair.

73. Following Sergeant Merhbaker’s detention of Plaintiff, and his subsequent
arrest for the assault against Rhett Happel, the eyewitness that identified Plaintiff
as the assailant recanted his post incident identification and told Meadville Police
that Plaintiff was not the assailant.

74. Clearly, Defendant Merchbaker knew that there was no legitimate basis for
the stop.

75. Defendant Merchbaker acted unreasonably in detaining and removing
Plaintiff from his Philosophy class, after which Plaintiff was immediately arrested
by the Meadville, Pennsylvania Police Department.

76. Defendant Merchbaker is not entitled to qualified immunity.

77. Asa result of Defendant Merchbaker’s action, Plaintiff suffered damages in an
amount to be proven at trial.

Count II

(Civil Rights Action (42 U.S.C. Section 1983) False Arrest against Defendant
Patrolman Jared Frum

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78. Plaintiff re-alleges and incorporates by reference the allegations contained in
paragraphs 1-77.

79. Plaintiff had a firmly established right under the Fourth Amendment to be
free from arrest without probable cause.

80. Defendant Patrolman Jared Frum arrested Plaintiff without probable cause,
where the sole evidence was based on an egregiously suggestive post incident
identification, which was ultimately recanted by the witness, and in any event
Plaintiff did not even fit the physical description of the suspect given by the
witness, where the witness reported that the assailant wore braids, and Plaintiff
does not have braids in his hair.

81. Further Patrolman Frum did not even question Jared Shaw, the man seen with
the assailant, who had been arguing with Happel earlier that evening, to ascertain
who Shaw was with.

82. Incredibly, Patrolman Frum apparently offered Shaw immunity, then when
Shaw chose not to give a statement, simply dropped that avenue of investigation.
83. Defendant Frum was at this time performing his duties as a police officer for
the City of Meadville, Pennsylvania.

84. During the relevant time, Defendant Frum was acting under color and
pretense of law, to wit, under color of the statutes, ordinances, regulations,
customs and usages of the Commonwealth of Pennsylvania and the City of
Meadville, Pennsylvania.

85. Defendant Frum engaged in the illegal conduct to the injury of the Plaintiff

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and deprived Plaintiff of the rights, privileges and immunities secured to him by
the Fourth Amendment to the Constitution of the United States and the laws of
the United States. Defendant Frum acted with callous disregard for the
constitutionally protected rights of Plaintiff.
86. Plaintiff was subjected to humiliation, fear and pain and suffering by the
illegal act of Defendant Frum and suffered injuries as a result of Defendant Frum’s
actions.
87. Defendant Frum is not entitled to qualified immunity.
88. Plaintiff is entitled to compensatory damages, punitive damages, attorney’s
fees under 42 U.S.C. Section 1988, and all applicable law, and such additional relief
as the Court deems just.

Count Ill

[Civil Rights Action (42 U.S.C. Section 1983 False Imprisonment against
Defendant Patrolman Jared Frum

89. Plaintiff re-alleges and incorporates by reference allegations contained in
paragraphs 1-88.

90. Defendant Frum unlawfully detained Plaintiff for an unreasonable period of
time after he knew or should have known that Plaintiff had committed no crimes
and therefore, did not have probable cause to detain Plaintiff.

91. Defendant Frum was at this time performing his duty as a police office for
Meadville, Pennsylvania.

92. During the relevant time Defendant Frum was acting under color of law and
the pretense of law, under the under the color of the statutes, ordinances

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regulations, customs and usages of the Commonwealth of Pennsylvania and the
City of Meadville, Pennsylvania.
93. Defendant Frum engaged in the illegal conduct to the injury of Plaintiff and
deprived him of the rights, privileges and immunities secured to him by the Fourth
Amendment to the United States Constitution and the laws of the United States.
Defendant Frum acted with callous disregard of the constitutional rights of
Plaintiff.
94. Plaintiff was subjected to humiliation and fear by the illegal act of Defendant
Frum and suffered emotional injury as a result of Defendant Frum’s actions.
95. False imprisonment is the nonconsensual, intentional confinement of a
person, without lawful privilege, for an appreciable length of time, however short.
96. Defendant Frum is not entitled to qualified immunity.
97. The conduct of Defendant Frum amounts to oppression and punitive damages
should be assessed against Defendant Frum, for the purpose of punishment and
for the sake of example.
98. Asa result of Defendant Frum’s actions, Plaintiff suffered damages in the
amount to be proven at trial.

Count IV

(Civil Rights Action (42 U.S.C. Section 1983) Malicious Prosecution against
Defendant Patrolman Frum

99. Plaintiff re-alleges and incorporates by reference allegation contained in
paragraphs 1-98.
100. 42 U.S.C. Section 1983 provides that:

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Every person, who under color of any statute, ordinance, regulation,
custom or usage of any state of territory or the District of Columbia
subjects or causes to be subjected any citizen of the United States or
other person within the jurisdiction thereof to the deprivation of any
rights, privileges or immunities secured by the constitution and law
shall be liable to the party injured in an action at law, suit in equity, or
other appropriate proceeding for redress. . . .
101. Plaintiff in this action is a citizen of the United States and all of the individual
police officer Defendants to this claim are persons for purposes of 42 U.S.C.
Section 1983.
102. Defendant Frum at all times relevant hereto, was acting under the color of
state law in his capacity as a Meadville, Pennsylvania police officer and his acts or
omissions were conducted within the scope of his official duties or employment.
103. At the time of the complained of events, Plaintiff had the clearly established
constitutional right to be free from malicious prosecution without probable cause
under the Fourth Amendment and in violation of due process under the
Fourteenth Amendment.
104. Any reasonable police officer knew or should have known of these rights at
the time of the complained of conduct as they were clearly established at the
time.
105. Defendant Patrolman Jared Frum violated Plaintiff's Fourth and Fourteenth
Amendment rights to be free from malicious prosecution without probable cause
and without due process when he secured false charges against Plaintiff, resulting
in his unlawful confinement and prosecution.
106. Defendant Patrolman Jared Frum intentionally and maliciously instituted a

criminal proceeding for felonious aggravated assault against Plaintiff without

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constitutional rights.

108. The procurement of prosecution against Plaintiff for the false allegation that
he savagely beat Rhett Happel was malicious, shocking, and objectively
unreasonable in the light of the circumstances.

109. The criminal case against Plaintiff was dismissed, resulted in the termination
of the charges in his favor, reflecting a prosecutorial judgment that the case could
not be proven beyond a reasonable doubt.

110. The acts or omissions of Defendant Frum was the moving force behind
Plaintiff's injuries.

111. The acts or omissions of Defendant Frum described herein intentionally
deprived Plaintiff of his constitutional and statutory rights and caused him other
damages.

112. Defendant Frum is not entitled to qualified immunity for the complained of
conduct.

113. Plaintiff was subjected to humiliation, fear, and pain and suffering by the
illegal acts of Defendant Frum, and suffered injuries as a result of Defendant
Frum’s actions.

114. Plaintiff is entitled to compensatory damages, punitive damages, attorney’s
fees under 42 U.S.C. Section 1988, and all applicable law, and such additional relief

as the Court deems just.

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COUNT V
(Civil Rights Action (42 U.S.C. Section 1983) Racial Discrimination in Violation of the
Equal Protection Clause of the Fourteenth Amendment and 42 U.S.C. Section 1981
againt Defendants Patrolman Jared Frum and Sergeant William Merchbaker
115. Plaintiff re-alleges and incorporates by reference allegations contained in
paragraphs 1-106.-
116. 42 U.S.C. Section 1983 provides that:
Every person, who under color of any statute, ordinance,
regulation, custom or usage of any state or territory or the
District of Columbia subjects or causes to be subjected any
citizen of the United States or other person within the
jurisdiction thereof to the deprivation of any rights, privileges
or immunities secured by the constitution and law shall be
liable to the party injured in an action at law, suit in equity, or
other appropriate proceeding for redress ....
117. Plaintiff in this action is a citizen of the United States and all of the
individual police officer Defendants to this claim are persons for purposes of 42
U.S.C. Section 1983.
118. All individual Defendants to this claim, at all times relevant hereto, were
acting under the color of state law in their capacity as Meadville, Pennsylvania and
Allegheny police officers respectively and their acts or omissions were conducted
within the scope of their official duties or employment.
119. At the time of the complained of events, Plaintiff had the clearly established

constitutional right to be free from racial discrimination in law enforcement by

police officers and to enjoy the equal protection of the laws.

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120. Title 42 U.S.C. Section 1981 (“Section 1981”) provides in pertinent part:
(a) All persons within the jurisdiction of the United States shall have
the same right in every State and Territory to make and enforce
contracts, to sue, be parties, give evidence, and to the full and equal
benefit of all laws, and proceedings for the security of persons and
property as is enjoyed by white citizens, and shall be subject to like
punishment, pains, penalties, taxes, and licenses, and exactions of
every kind, and to no other.

121. Plaintiff, as an African-American is a member of a protected class, and thus

also had the clearly established statutory right under this provision of 42 U.S.C.

Section 1981 to be free from racially motivated arrests, searches and filing of false

charges.

122. Any reasonable officer knew or should have known of these rights at the

time of the complained of conduct as they were clearly established at that time.

123. Plaintiffs race was a motivating factor in the decision of Defendants to

detain him without reasonable suspicion, arrest him without probable cause and

maliciously prosecute him with false charges, where he was detained arrested
merely because prior to the incident he took some facebook photos with a white
male that was observed with the assailant at the scene. Plaintiff in no way
resembled the assailant, who unlike Plaintiff had braids, and was only arrested
because like the assailant Plaintiff is African-American.

124. Conversely, Jared Shaw, a white American, who was with Josiah Williams on

the night he assaulted Rhett Happel, had engaged in a heated conversation with

Happel, accusing him of drugging his girlfriend just prior to the assault, was

ultimately offered immunity in exchange for identifying the assailant and is,

therefore accordingly similarly situated to Plaintiff as a person of interest in the

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Happel assualt investigation, has not been prosecuted despite his involvement
and refusing to cooperate as a Commonwealth witness.
125. Defendants’ conduct was undertaken with the purpose of depriving Plaintiff
of the equal protection and benefits of the law, equal priviliges and immunities
under the law, and due process in violation of the Fourteenth Amendment to the
United States Constitution and 42 U.S.C. Section 1981.
126. Defendants engaged in the conduct described by this Complaint willfully,
maliciously, in bad faith, and in reckless disregard of Plaintiff's federally protected
rights.
127. The acts or omissions of all individual Defendants were moving forces behind
Plaintiff's injuries.
128. These individual Defendants acted in concert and joint action with each
other.
129. The acts or omissions of Defendants as described herein intentionally
deprived Plaintiff of his constitutional and statutory rights and caused him other
damages.
130. Defendants are not entitled to qualified immunity for the complained of
conduct.
131. The Defendants to this claim at all times relevant hereto were acting
pursuant to municipal/county custom, policy, decision, ordinance, regulation,
widespread habit, usage, or practice in their actions pertaining to Plaintiff.
132. Asa proximate result of Defendants’ unlawful conduct Plaintiff has suffered
emotional injuries and other damages and losses as described herein entitling him

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to compensatory and special damages, in amounts to be determined at trial.
133. On information and belief, Plaintiff may suffer lost future earnings as a result
of the public stigma flowing from such a high profile publicized case. Plaintiff is
further entitled to attorneys’ fees and costs pursuant to 42 U.S.C. Section 1988,
pre-judgment interest and costs as alllowable by federal law.
134. In addition to compensatory, economic, consequential and special damages,
Plaintiff is entitled to punitive damages against each of the individually named
Defendants under 42 U.S.C. Section 1983, in that the actions of each of Patrolman
Frum and Sergeant Merchbaker have been taken maliciously, willfully or with a
reckless or wanton disregard of the constitutional rights of Plaintiff.
COUNT VI
(Civil Rights Action (42 U.S.C. Section 1983) - Deliberately Indifferent Policies,
Practices, Customs, Training and Supervision in violation of the Fourth and
Fourteenth Amendments and in violation of 42 U.S.C. Section 1981 against
Defendants, Meadville, Pennsylvania, Chief of Police Michael Tautin,
Allegheny College and Sergeant William Merchbaker
135. Plaintiff re-alleges and incorporates by reference allegations contained
paragraphs 1-134.
136. 42 U.S.C. Section 1983 provides that:
Every person, who under color of any statute ordinance,
regulation, custom usage of any state or territory or the District of
Columbia subjects or causes to be subjected any citizen of the
United States or other person within the jurisdiction thereof to
the deprivation of any rights, privileges or immunities secured by
the constitution and law shall be liable to the party injured in
action at law, suit in equity, or other appropriate proceeding for

redress....

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137. Plaintiff in this action is a citizen of the United States and Defendants to this
claim are persons for purposes of 42 U.S.C. Section 1983.
138. The Defendants to this claim at all times were acting under the color of state
law.
139. Plaintiff had the following clearly established rights at the time of the
complained of conduct.
A. The right to be free from false arrest, false imprisonment, and
malicious prosecution under the Fourth and Fourteenth Amendments
to the United States Constitution.
B. The right to be free from discrimination by police under the Equal
Protection Clause of the Fourteenth Amendment to the United States
Constitution and under 42 U.S.C. Section 1981.
140. Defendants Tauti, Merchbaker, Meadville, Pennsylania and Allegheny
College all knew or should have known of these rights at the time of the
complained of conduct as they were clearly established at that time.
141. The acts or omissions of these Defendants, as described herein, deprived
Plaintiff of his constitutional and statutory rights and caused him other damages.
142. Defendants are not entitled to qualified immunity for the complained of
conduct.
143. Defendant Tauti was at all times relevant the policymaker for the City of
Meadville, Pennsylvania and the Meadville, Pennsylvania Police Department, and
in that capacithy established policies, procedures, customs, and or practices for
the same.

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144. Defendant Merchbaker was at times relevant the policymaker for Allegheny
College and the Allegheny College Department of Public Safety, and in that
Capacity established policies, procedures, customs and/or practices for the same.
145. Defendants Tauti and Merchbaker developed and maintained policies,
procedures, customs, and/or practices exhibiting deliberated indifference to the
constitutional rights of citizens, which were the moving forces behind and
proximately caused the violations of Plaintiff’s constitutional and federal rights as
set forth herein and in the other claims, resulted from a conscious or deliberate
choice to follow a course of action from among various available alternatives.
146. Defendants Tauti, Meadville, Pennsylvania, Merchbaker and Allegheny
College have created and tolerated an atmosphere of lawlessness, and have
developed and maintained long-standing, department-wide customs, law
enforcement related policies, procedures, customs, practices, and/or failed to
properly train and/or supervise its officers in a manner amounting to deliberate
indifference to the constitutional rights of Plaintiff and of the public.

147. In light of the duties and responsibilities of those police officers that
participate in arrests and preparation of police reports on alleged crimes, the need
for specialized training and supervision is so obvious, and the inadequacy of
training and/or supervision is so likely to result in the violation of constitutional
and federal rights such as those described herein that the failure to provide such
specialized training and supervision is deliberately indifferent to those rights.
148. The deliberately indifferent training and supervision provided by Defendant
Chief of Police Michael J. Tauti, Defendant Meadville, Pennsylvania, Defendant

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149. Sergeant William Merchbaker, and Defendant Allegheny College resulted
from a conscious or deliberate choice to follow a course of action from among
various
alternatives available to the aforementioned Defendants and were the moving
forces in the constitutional and federal violations and injuries complained of by
Plaintiff.
150. Asa direct result of Defendants’ unlawful conduct, Plaintiff has suffered
emotional injury and other damages and losses as described herein entitling him
to compensatory and special damages, in amounts to be determined at trial.
151. On information and belief, Plaintiff may suffer lost future earnings and
impaired earning capacities from the public stigma accruing from such a high
profile publicized case, in amounts to be ascertained at trial. Plaintiff is further
entitled to attorneys’ fees and costs pursuant to 42 U.S.C. Section 1988,
pre-judgment interest and costs as allowable by federal law.
152. Plaintiff seeks appropriate declaratory and injunctive relief pursuant to 42
U.S.C. Section 1983 to redress Defendants’ above described ongoing deliberate
indifference in policies, practices, habits, customs, usages, training and supervision
with respect to the rights described herein, which Defendants have no intention
for voluntarily correcting despite obvious need and requests for such correction.
COUNT VII
PUBLICITY PLACING PLAINTIFF IN A FALSE LIGHT AGAINST DEFENDANTS’
FIRST ASSISTANT DISTRICT ATTORNEY PAULA DIGIACOMO, KEVIN GUSHARD,
MEADVILLE TRIBUNE, AND COMMUNITY NEWSPAPER HOLDINGS, INC.

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153. Plaintiff re-alleges and incorporates by reference the allegations contained in
paragraphs 1-152.

154. Defendant Paul DiGiacomo, the First Assistant District Attorney, for Crawford
County, gave a public statement which was published by Defendant Meadville
Tribune, in an article written by Defendant Keith Gushard, that even though the
criminal case against Plaintiff had been withdrawn and dismissed, Plaintiff
nevertheless remained a suspect in the investigation of the brutal April 7, 2019
assault against Rhett Happel at Julian’s Bar in Meadville Pennsylvania. The
Meadville Tribune is owned by Defendant Community Newspaper Holdings Inc.
155. Clearly, where there was overwhelming evidence presented to the
Commonwealth establishing not only that Plaintiff was not the assailant, where
the lone eyewitness accusing Plaintiff of the assault of Rhett Happel recanted and
told police that Plaintiff was not the man that he saw attack Happel and numerous
witnesses are poised to appear in court and testify that the actual assailant was
Josiah Williams of Syracuse, New York and Plaintiff was not even at the scene of
the incident, Ms. DiGiacomo’s statement that Plaintiff is still a suspect for the
assault of Rhett Happel is at best misleading if not an outright lie, which portrays
Plaintiff in a false light, leading his peers at Allegheny College as well as the
general public to wrongly believe that Plaintiff was the man who brutally assaulted
Happel.

156. The aforesaid actions of Defendants are unlawful under Pennsylvania law.
157. Plaintiff, as a result of the unlawful acts of the Defendants, has suffered, and
continues to suffer, substantial damages and irreparable harm as a result of being

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placed in a false light before the public, which would be highly offensive to a
reasonable person.
158. Defendant’s conduct in placing Plaintiff in a false light before the public, was
malicious, shocking, and objectively unreasonable, which subjected Plaintiff to
unwarranted humiliation and scorn.
159. Plaintiff has suffered, and continues to suffer, substantial damages and
irreparable harm as a result of the confusion caused by being placed in a false light
before the public which would be highly offensive to a reasonable person.
160. Defendants’ reckless and maliciousness in casting Plaintiff in a false light
entitles him to compensatory damages, punitive damages, and such other relief as
the Court shall deem just and proper.

COUNT VIII

Publicity Placing Plaintiff in False Light against Defendants Allegheny College
and Sergeant William Merchbaker

161. Plaintiff re-alleges and incorporates by reference the allegations contained in
paragraphs 1-150.

162. On April 15, 2019,Sergeant William Merchbaker, the Director of Public Safety
for Allegheny College interrupted Plaintiff's Philosophy lecture and detained
Plaintiff and removed him for class in order to deliver him to the Allegheny Police
Department which would, subsequently, arrest Plaintiff and charge him with
Aggravated Assault, 18 Pa.C.S.A. Section 2702(a), for beating Rhett Happel in
Julian’s Bar, after a putative eyewitness identified Plaintiff as the assailant from a
facebook photo, only because Plaintiff was African-American and was seen in the

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photo with a white male observed at the scene of the assault, even though as the
suspect was described by witness as having braids, Plaintiff did not have braids,
163. Less than a month later, the criminal case against Plaintiff would be
withdrawn by the Commonwealth because of a lack of evidence, where the
eyewitness recanted his accusation that he saw Plaintiff assault Rhett Happel, and
a substantial likelihood that the assailant was Josiah Williams of Syracuse, New
York, who was observed by numerous witnesses at the scene, and actually has
braids in his hair.
164. Clearly, arresting Plaintiff while he was attending class at Allegheny College,
where he was innocent of the allegation that he had assaulted Rhett Happel had
the effect of placing Plaintiff in a false light before the public.
165. Asa result of the illegal detention of Plaintiff by Sergeant Merchbaker,
Plaintiff has suffered, and continues to suffer, substantial damages and irreparable
harm as a result of being placed in a false light before the public which would be
highly offensive to a reasonable person.
166. Defendants’ reckless and malicious conduct in casting Plaintiff in a false light
entitles him to compensatory damages, punitive damages, and such other relief as
the Court may deem just and proper.
COUNT IX

Invasion of Privacy by way of an unreasonable intrusion by Defendants
Meadville Tribune, Community Holdings, Inc., and Keith Gushard

167. Plaintiff re-alleges and incorporates by reference the allegations contained
in paragraphs 1-166.

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168. In his Meadville Tribune Article depicting Plaintiff as the man who assaulted
Rhett Happel, Defendant Keith Gushard published Plaintiffs home address in
Upper Marlboro, Maryland.
169. Defendant Gushard’s publication of Plantiff’s home address in conjunction
with an article that he had committed a heinous felonious assault againt an
unsuspecting person was a patently egregious intentional intrusion upon the
seclusion of Plaintiff's private concerns which is highly offensive offensive to a
reasonable person, clearly calculated to cause mental suffering, shame and
humiliation to a reasonable person.
170. Defendants’ conduct in intruding upon Plaintiff’s seclusion of private
concerns was malicious, shocking, and objectively unreasonable, which subjected
Plaintiff to unwarranted humiliation and scorn.
171. Plaintiff has suffered, and continues to suffer, substantial damages and
irreparable harm as a result of the confusion caused by such an unwarranted
intrusion upon his personal privacy, which would be highly offensive to a
reasonable person.
172. Defendants’ reckless and maliciousness in intruding upon Plaintiff’s private
concerns entitles him to compensatory damages, punitive damages, and such
other relief as the Court shall deem just and proper.

COUNT X

Invasion of Privacy by way of unreasonable intrusion by Defendant
First Assistant District Attorney Paula DiGiacomo

173. Plaintiff re-alleges and incorporates by reference the allegations contained in

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paragraphs 1-172.

174. Following the Commonwealth’s decision to nolle prosse Plainitff’s criminal
case, Defendant First Assistant District Attorney Paula DiGiacomo reported to Keith
Gushard that notwithstanding the decision of her office to withdraw the charges
against Plaintiff, Plaintiff was still a suspect for he assault on Rhett Happel.

175. Defendant DiGiacomo’s reporting that Plaintiff remained a suspect for the
assault of Rhett Happel was an egregious intrusion upon the seclusion of Plaintiff's
private concerns, which is highly offensive to a reasonable person, clearly calculated
to cause mental suffering, shame and humiliation to a reasonable person.

176. Defendant DiGiacomo’s intrusion upon Plaintiff's seclusion of private
concerns was malicious, shocking, and objectively unreasonable, which subjected
Plaintiff to unreasonable humiliation and scorn.

177. Plaintiff has suffered and continues to suffer substantial damages and
irreparable harm as a result of the confusion caused by such an unwarranted
intrusion upon his personal privacy, which would be highly offensive to a reasonable
person.

178. Defendant DiGiacomo’s reckless and maliciousness in intruding upon
Plaintiff's private concerns entitles him to compensatory damages, punitive damages,
and such other relief as the Court shall deem proper.

COUNT XI
Intentional Infliction of Emotional Distress against Defendants’ Sergeant William

Merchbaker, Allegheny College, First Assistant District Attorney Paula DiGiacomo,
Kevin Gushard, Meadville Tribune and Community Newspaper Holdings, Inc.

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179. Plaintiff re-alleges and incorporates by reference the allegations contained in
paragraphs 1-178.
180. By engaging in the acts alleged herein, Defendants Allegheny College,
Merchbaker, DiGiacomo, Meadville Tribune, Kevin Gushard and Community
Newspaper Holdings, Inc., engaged in outrageous conduct with an intent to ora
reckless disregard of the probability of causing Plaintiff to suffer emotional
distress.
181. Asa direct, proximate and foreseeable result, Plaintiff suffered severe
emotional distress and the outrageous conduct was the cause of the emotional
distress suffered by Plaintiff.
182. The conduct of Defendants also amounts to oppression, fraud or malice and
punitive damages should be assessed against Defendants for the purpose of
punishment and for the sake of example.
COUNT X

Conversion against Defendant City of Meadville, Pennsylvania
183. Plaintiff re-alleges and incorporates by reference the allegations contained in
paragraphs 1-182.
184. Subsequent to Plaintiffs arrest, Meadville police officers executed a search
warrant at Plaintiff's Allegheny College dorm room.
185. Asa result of execution of the search warrant, police recovered a ring which
the Commonwealth believed was employed as a foreign object by Plaintiff in the

assault of Rhett Happel.

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186. After forensic testing it was determined that the ring was not part of the
assault against Mr. Happel.

187. Plaintiff has requested that the ring be returned, but the Commonwealth has
refused.

188. Defendant City of Meadville, Pennsylvania has seized Plaintiff's ring and
converted the same to its own use, and has refused the property to Plaintiff.

189. Defendant Meadville, Pennsylvania’s conduct in converting Plaintiff's ring to its
own is reckless and malicious conduct which entitles Plaintiff to compensatory
damages, punitive damages, and such other relief as the Court may deem just and

proper.

WHEREFORE, Plaintiff respectfully requests
A. Compensatory damages as to all defendants;
B. Punitive Damages as to Defendants Frum, Merchbaker
DiGiacomo, Tautin, and Gushard.
C. Reasonable attorney’s fees and costs as to all Defendants;
D. Such other and further relief as may appear just and
appropriate.

Plaintiff hereby demands a jury trial.

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Respectfully submitted:

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